         Case 3:22-cv-00178-SDD-SDJ          Document 189    11/28/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
NOVEMBER 28, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


DOROTHY NAIRNE, et al
                                                                      CIVIL ACTION
versus
                                                                      22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana, et al.


         This matter came on this day for continuation of the Bench Trial.

         PRESENT: Megan C. Keenan, Esq.
                  Victoria Wenger, Esq.
                  Sarah E. Brannon, Esq.
                  Stuart C. Naifeh, Esq.
                  Josephine M. Bahn, Esq.
                  Robert S. Clark, Esq.
                  Tiffany Alora Thomas, Esq.
                  Amanda Giglio, Esq.
                  John N. Adcock, Esq.
                  Sara Rohani, Esq.
                  Dayton Campbell-Harris, Esq.
                  Garrett Muscatel, Esq.
                  Counsel for Plaintiffs

                      Phillip J. Strach, Esq.
                      John Carroll Walsh, Esq.
                      John Clifton Conine, Jr., Esq.
                      Thomas A. Farr, Esq.
                      Cassie Holt, Esq.
                      Alyssa Riggins, Esq.
                      Counsel for R. Kyle Ardoin

                      Robert J. Tucker, Esq.
                      Michael W. Mengis, Esq.
                      Katherine L. McKnight, Esq.
                      Patrick T. Lewis, Esq.
                      Counsel for Intervenor Schexnayder and Cortez
        Case 3:22-cv-00178-SDD-SDJ           Document 189       11/28/23 Page 2 of 2




       J-55 and J-56 are admitted into the record.

       Dr. Lisa Handley, is sworn, tendered, accepted as an expert in the field of

redistricting and minority vote dilution, and testifies. Exhibits filed.

       Defendants moved for admission of Dr. Solanky’s testimony. For oral reasons

given, the Court denied the motion.

       Dr. Craig Colten, is sworn, tendered, accepted as an expert in the field of historical

geography in Louisiana, and testifies. Exhibits filed.

       Dr. R. Blakeslee Gilpin, is sworn, tendered, accepted as an expert in the field of

Louisiana history, and testifies. Exhibits filed.

       William Cooper, is sworn, tendered, accepted as an expert in the field of

demographic census data and redistricting, and testifies. Exhibits filed.

       Court recesses until Wednesday, November 29, 2023, at 9:00 a.m.


                                         * * * * *

G. Delatte-Richard and Natalie Breaux/Reporters
C: CV 6; T 6 hrs.
